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               Exhibit 3
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     SPRINGFIELD DIVISION



LACIE DAVIS, individually and on behalf of all   )
others similarly situated,                       )
                                                 )   Case No. 3:22-cv-03071-CRL-KLM
               Plaintiff,                        )
                                                 )   Hon. District Judge Colleen R. Lawless
       v.                                        )
                                                 )   Hon. Magistrate Karen L. McNaught
RICOLA USA, INC.,                                )
                                                 )
               Defendant.
                                                 )
                                                 )
                                                 )




                            EXPERT REPORT OF STEFAN GAFNER, Ph.D.

                 REFERENCES HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                   INFORMATION UNDER PROTECTIVE ORDER (ECF NO. 18)
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        1.      The following is the expert report of Stefan Gafner, Ph.D., submitted in

connection with Davis v. Ricola USA, Inc., Case No. 3:22-cv-03071-SEM-KLM (C.D. Illinois).

        2.      I am the Chief Science Officer at the American Botanical Council, a non-profit

research and education organization located on 6200 Manor Road, Austin, TX 78723. I am a

pharmacist with expertise in herbal medicine, natural products research, botanical ingredient

analysis, and other fields related to botanical dietary supplements. My curriculum vitae is

attached as Exhibit 1. I have not previously testified as an expert at trial or by deposition.

        3.      I have been retained as an expert witness in this case by Sheppard Mullin Richter

& Hampton LLP on behalf of Ricola USA, Inc. (“Ricola”) to consider the nature of the menthol,

peppermint oil, and peppermint found in Ricola’s “Original Herb” cough drops (the “Product”).

        4.      I am charging $600 per hour for my work on this case. My compensation is not

dependent on the outcome of this matter or the testimony that I may give relating to this

matter.

        5.      I have considered documents produced by Ricola in this matter, including

performance testing documents and the data underlying such tests. I have also considered

public research, and other publicly available resources such as information on websites. A

listing of the materials that I, or members of my staff at my direction, have considered is

attached as Exhibit 2.

        6.      I reserve the right to supplement and/or amend my opinions herein based on

any additional materials or information that is provided to me. I also reserve the right to

respond to any testimony or declarations submitted by Plaintiff in response to this report (if

any). Additionally, I reserve the right to submit an additional expert report prior to trial.


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I.         Summary of Opinions

           7.       In the Complaint in this litigation, Plaintiff alleges that “[d]espite the front label

representations including “Cough Suppressant,” “Oral Anesthetic,” “Effective Relief,” “Made

With Swiss Alpine Herbs,” and pictures of ten herbs, the Product’s therapeutic effect is not

provided by any of the herbs pictured on the front label,” and “[t]his is shown through a review

of the Drug Facts on the back label, which identify menthol as the only active ingredient.” These

allegations are contradicted by the fact that a portion of menthol, which is the claimed active

ingredient, is provided from menthol contained in peppermint oil. Peppermint is one of the

herbal ingredients shown on the front of Ricola’s cough lozenge package. All the menthol in the

lozenges is obtained from mint, either from corn mint (Mentha canadensis, syn. Mentha

arvensis var. glabrata, Mentha arvensis var. piperascens) or from peppermint (Mentha

× piperita) (RICOLA0000024, RICOLA0000027-28, RICOLA0000029, RICOLA0000042). Second,

none of the herbs in the Ricola herb mixture shown on the Product are identified as an active

ingredient under 21 CFR 341.14, 1 even if they contribute to the actions of the lozenge.

21CFR201.66 2 requires that any ingredient other than the active ingredient must be listed as

inactive ingredient. However, there are many examples of “inactive ingredients” contributing to

the therapeutic benefits of an OTC product as an adjuvant, or as an excipient to enhance

product delivery and hence improve efficacy.

II.        Qualifications and Work History

           8.       I have an B.Sc. in pharmacy from the University of Bern, Switzerland, and a Ph.D.



1
    Antitussive active ingredients. 21CFR341.14
2
    Format and content requirements for over-the counter (OTC) drug product labeling. 21CFR201.66

                                                        -2-
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in pharmaceutical sciences from the University of Lausanne, Switzerland. During my

undergraduate studies, many of the classes during my pharmacy curriculum touched on the

identification, use, and quality control of medicinal plants. These include classes in botany

(identification of plants based on their morphological features), microscopic and macroscopic

evaluation of medicinal plants, phytochemistry (i.e., the chemical composition of medicinal

plants), and chemical analysis of plants using state-of-the-art instruments. Additionally, I had

classes in pharmacology and formulation, among many others.

       9.      I have a Ph.D. in Phytochemistry from the University of Lausanne. For my Ph.D., I

worked on the discovery of new antibacterial and antifungal constituents from plants used in

traditional African herbal medicine. This required knowledge of advanced separation

techniques to purify single constituents from the mixture naturally represented in a plant,

approaches for structure determination such as mass spectrometry and nuclear magnetic

resonance spectroscopy, and evaluation of the antimicrobial effects using typical bioassay

screening methods.

       10.     My Ph.D. was followed with a post-doctoral study at the College of Pharmacy,

University of Illinois at Chicago, where I investigated the cancer preventive properties of

medicinal plants, and isolated constituents from medicinal plants. During the time in Chicago,

the focus of my academic research work was to study, using laboratory and animal assays, how

the constituents of plants exerted their benefits.

       11.     After my post-doctoral studies, I spent 14 years as Director of Analytical

Chemistry in the R&D group of Tom’s of Maine. My main responsibility was the development

and validation of analytical methods for the herbal ingredients (peppermint, thyme, and


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yarrow, among many others), which, at the beginning of my work at Tom’s of Maine included a

series of dietary supplements and several OTC products such as a nasal decongestant with

pseudoephedrine as active ingredient, and a topical chest rub containing menthol, eucalyptus

oil, and camphor as OTC actives. These methods were later converted into standard operating

procedures (SOPs) which were followed by the members of the R&D and QC groups. I

developed and helped validate the assay for pseudoephedrine and also the assays for identity

and strength of the botanical ingredients contained in the nasal decongestant.

       12.     Due to my background in herbal medicine, I was closely involved with the

formulation and quality assessment of the dietary supplement and OTC products. Hence, I have

extensive experience with the composition analysis of OTC products containing botanical

extracts marketed in the same therapeutic category as the Ricola lozenges.

       13.     After the purchase of Tom’s of Maine by Colgate-Palmolive, my focus shifted to

oral and personal care products. The Tom’s of Maine oral care category also included several

OTC toothpaste products, allowing me to obtain additional expertise in the category.

       14.     Besides my analytical work, while at Tom’s of Maine for several years I led our

“Stewardship Team,” a team of scientists created to evaluate new raw materials for

consideration in upcoming products. The Stewardship Team’s task was to obtain detailed

information on the sourcing and production of the ingredients, such as confidential information

about the ingredient from the producer and ingredient manufacturing flow charts, and assess

them for their appropriateness for use in Tom’s of Maine products.

       15.     One of my most important responsibilities on the “Stewardship Team” was to

determine if a proposed ingredient was sourced in nature. This determination required


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knowledge of chemical processes together with production processes.

        16.      In 2013, I joined the American Botanical Council (ABC) as Chief Science Officer.

Established in 1988, the American Botanical Council (ABC) is the leading independent,

nonprofit, international member-based organization providing education using science-based

and traditional information to promote the responsible use of herbal medicine.

        17.      I am also the Director of the ABC-AHP (American Herbal Pharmacopoeia)-NCNPR

(National Center for Natural Products Research at the University of Mississippi) Botanical

Adulterants Prevention Program (BAPP), an international consortium of nonprofit professional

organizations, analytical laboratories, research centers, industry trade associations, industry

members, and other parties with interest in herbs and medicinal plants. The BAPP definition of

adulteration is based on the United States Pharmacopeia’s (USPs) Food Fraud Mitigation

Guidance as “the fraudulent addition of non-authentic substances or removal or replacement of

authentic substances without the purchaser's knowledge for economic gain of the seller.”3

        18.      BAPP to date has published over 80 articles (over 50 of which were authored or

co-authored by me). In January 2023, BAPP has published a review article on the types of

adulteration frequently seen in botanical dietary supplements and other botanical-based

ingredients in the Journal of Natural Products. 4 This includes the fortification of herbal extracts

with ingredients made from petroleum-based starting materials without proper declaration of

their non-natural origin.


3
 Food Chemical Codex. Appendix XVII: Food fraud mitigation guidance. FCC 10. Rockville, MD: United States
Pharmacopeial Convention; 2016.
4
 Gafner S, Blumenthal M, Foster S, Cardellina JH, II, Khan IA, Upton R. Botanical ingredient forensics: Detection of
attempts to deceive commonly used analytical methods for authenticating herbal dietary and food ingredients and
supplements. J Nat Prod. 2023;86(2):460-472.

                                                        -5-
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         19.      One aspect of my work at ABC includes education related to the safety and

efficacy of botanical ingredients and dietary supplements. I have taught classes to pharmacists

on herbal products used for upper respiratory infections (including cough and cold),

gastrointestinal discomfort, urinary tract complaints, skin disorders, and other health issues.

         20.      Finally, I have been invited as a member of the inaugural steering committee of

the Botanical Safety Consortium (BSC), an international multi-stakeholder effort that brings

together key scientific experts to enhance the toolkit for the evaluation of botanical ingredient

safety using in vitro assays. The BSC was officially convened in November 2019, as the result of

a Memorandum of Understanding between the US Food and Drug Administration (FDA),

the National Institutes of Health’s National Institute of Environmental Health Sciences (NIEHS),

and the non-profit Health and Environmental Sciences Institute (HESI).

III.     Background Facts

         A.       Menthol

         21.      Menthol is well known for its cooling effect or sensation 5 when it is inhaled,

chewed, consumed or applied to the skin due to its ability to chemically activate specific

proteins, which are called the cold-sensitive transient receptor potential cation channel

(TRPM8). 6,7 This cooling effect can last up to 70 minutes on the skin according to a study by




5
 Diomede L, Salmona M. The soothing effect of menthol, eucalyptol and high-intensity cooling agents. Nutrafoods.
2017;16:153-157.
6
 Kamatou GP, Vermaak I, Viljoen AM, Lawrence BM. Menthol: a simple monoterpene with remarkable biological
properties. Phytochemistry. 2013;96:15-25.
7
  Cheng H, An X. Cold stimuli, hot topic: An updated review on the biological activity of menthol in relation to
inflammation. Front Immunol. 2022;13.

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Yosipovitch et al.8 The activity on the TRPM8 receptors also explains menthol’s topical pain

relieving effects. 9

         22.      Menthol has been shown to reduce cough frequency in healthy children 10 and

healthy adults. 11 This is believed to be due at least in part to an increase in the cough reflex

threshold, or – in simpler terms – it takes more to make a patient cough. 12 Interestingly, the

authors reporting an increase in the cough threshold reported similar findings for a solution

containing 34.2 grams of sugar in 100 mL water. 13 Other studies have shown that menthol has

the ability to produce desensitization after experimentally induced sensory irritation in the oral

cavity and to possess antibacterial and antiviral properties. 14

         23.      In the past, menthol was predominantly obtained by crystallization from corn

mint essential oil that is produced by steam distillation. 15 Corn mint oil has a menthol content

of 55–85%. 16 Peppermint essential oil has a menthol content of 30-55% according to the


8
 Yosipovitch G, Szolar C, Hui XY, Maibach H. Effect of topically applied menthol on thermal, pain and itch
sensations and biophysical properties of the skin. Archives of dermatological research. 1996;288(5-6):245-248.
9
 Pergolizzi JV, Jr., Taylor R, Jr., LeQuang JA, Raffa RB. The role and mechanism of action of menthol in topical
analgesic products. J Clin Pharm Ther. 2018;43(3):313-319.
10
  Kenia P, Houghton T, Beardsmore C. Does inhaling menthol affect nasal patency or cough? Pediatr Pulmonol.
2008;43(6):532-537.
11
  Morice AH, Marshall AE, Higgins KS, Grattan TJ. Effect of inhaled menthol on citric acid induced cough in normal
subjects. Thorax. 1994;49(10):1024-1026.
12
  Wise PM, Breslin PA, Dalton P. Sweet taste and menthol increase cough reflex thresholds. Pulmonary
pharmacology & therapeutics. 2012;25(3):236-241.
13
  Wise PM, Breslin PA, Dalton P. Sweet taste and menthol increase cough reflex thresholds. Pulmonary
Pharmacology & Therapeutics. 2012;25(3):236-241.
14
  Kamatou GP, Vermaak I, Viljoen AM, Lawrence BM. Menthol: a simple monoterpene with remarkable biological
properties. Phytochemistry. 2013;96:15-25.
15
  Dylong D, Hausoul PJC, Palkovits R, Eisenacher M. Synthesis of (−)-menthol: Industrial synthesis routes and
recent development. Flav Fragr J. 2022;37(4):195-209.
16
  Kamatou GP, Vermaak I, Viljoen AM, Lawrence BM. Menthol: a simple monoterpene with remarkable biological
properties. Phytochemistry. 2013;96:15-25.

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peppermint oil monograph of the European Pharmacopoeia. 17 Peppermint oil has a history of

use in Western and Eastern cultures to treat indigestion, nausea, sore throat, diarrhea, colds,

and headaches. 18,19 The official monograph of the European Scientific Cooperative on

Phytotherapy (ESCOP) indicates its internal use for flatulence, irritable bowel syndrome, and

coughs and colds. Its external use is indicated for coughs and colds, rheumatic complaints,

pruritus, urticaria, and pain in irritable skin conditions. 20 According to Dylong et al, 21 current

menthol production is about 34,000 metric tons per year, of which about 60% are made by

chemical synthesis.

                    B.       “Natural,” “Herbal,” and “Botanical” Ingredients

           24.      Throughout this opinion, the terms “natural,” “herbal,” and “botanical

ingredient” are used on several occasions. Hence, a short description, or definition (if available)

is provided here. An explanation of the term natural flavor or natural flavoring can be found in

the Code of Federal Regulations, CFR 101.22, 22 however this definition only applies to food

products: a natural flavor or natural flavoring means the essential oil, oleoresin, essence or

extractive, protein hydrolysate, distillate, or any product of roasting, heating or enzymolysis,


17
  Menthae piperitae aetheroleum. European Pharmacopoeia (11.4). Strasbourg, France: European Directorate for
the Quality of Medicines and HealthCare; 2023.1669.
18
     Mahendran G, Rahman L-U. Ethnomedicinal, phytochemical and pharmacological updates
on peppermint (Mentha × piperita L.)—A review. Phytother Res. 2020;34(9):2088-2139.
19
  Stahl-Biskup E, Wichtl M, Loew D. Menthae piperitae folium. In: Blaschek W, ed. Wichtl - Teedrogen und
Phytopharmaka. 6th ed. Stuttgart, Germany: Wissenschftliche Verlagsgesellschaft mbH; 2016:423-426.
20
  ESCOP 2003. Menthae piperitae aetheroleum. ESCOP Monographs: The Scientific Foundation for Herbal
Medicinal Products. 2nd ed. Exeter, United Kingdom: European Scientific Cooperative on Phytotherapy and
Thieme; 2003:329-336.
21
  Dylong D, Hausoul PJC, Palkovits R, Eisenacher M. Synthesis of (−)-menthol: Industrial synthesis routes and
recent development. Flav Fragr J. 2022;37(4):195-209.
22
     Foods; labeling of spices, flavorings, colorings, and chemical preservatives. 21CFR101.22

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which contains the flavoring constituents derived from a spice, fruit or fruit juice, vegetable or

vegetable juice, edible yeast, herb, bark, bud, root, leaf or similar plant material, meat, seafood,

poultry, eggs, dairy products, or fermentation products thereof, whose significant function in

food is flavoring rather than nutritional.”

        25.      A definition of herbal or botanical has been given by the US Food and Drug

Administration in its industry guidance on new dietary ingredient notification and related

issues.23 In this guidance, a herbal or botanical is defined as “a plant, alga, or fungus; a part of a

plant, alga, or fungus (e.g., bark, leaves, stems, roots, flowers, fruits, seeds, berries, or parts

thereof); or an exudate (secretion) of a plant, alga, or fungus.”

        26.      The definition of a botanical ingredient is provided in the glossary on the website

of the Botanical Safety Consortium, BSC: “An ingredient of a dietary supplement, personal care,

cosmetic, or food product derived from plants, algae, or fungi. Botanical ingredients can be

whole, cut, or powdered, or in form of an extract after further processing using appropriate

solvents and methods.” 24

        27.      The following description of botanical preparation, which is a term similar to

botanical ingredient, is provided by the European Food Safety Authority (EFSA): “This

terminology [botanical preparation] includes all preparations obtained from botanicals by

various processes (e.g. pressing, squeezing, extraction, fractionation, distillation, concentration,




23
  Dietary Supplements : New Dietary Ingredient Notifications and Related Issues : Guidance for Industry Draft
Guidance. Center for Food Safety and Applied Nutrition, U.S. Food and Drug Administration. 2016.
24
  Botanical Safety Consortium Resources. BSC Glossary. Available at:
https://botanicalsafetyconsortium.org/useful-resources/. Accessed September 27, 2023.

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drying up and fermentation).” 25

                 C.       The Menthol in the Product

        28.      The menthol contained in the Ricola product is from several sources. The

Certificate of Analysis (CoA, RICOLA0000027-28) obtained from Sharp Mint Ltd, the menthol

supplier for Ricola, shows that natural menthol crystals are produced from corn mint essential

oil. The corn mint essential oil is submitted to fractionated distillation, yielding a menthol-rich

fraction among others. This menthol-rich fraction is homogenized, filtered, and eventually put

into a freezing cabinet where the menthol crystals form at low temperature. The crystals are

separated from the rest of the oil by simply pouring the non-crystalline liquid into a different

container (RICOLA0000031-32). A statement confirming the natural origin of the menthol

crystals has been provided by the supplier (RICOLA0000029, RICOLA0000030).

        29.      Menthol is also added to the lozenges from natural mint oils, namely corn mint

and peppermint (RICOLA0000021-24). Both oils are produced by cutting the mint leaves, mixing

them with water, and extracting the essential oil by steam distillation. During the distillation

process, the volatile oil evaporates together with some of the water. This water-oil mixture is

then cooled and eventually separates since water and oil are not miscible (RICOLA0000041).

The two mint oils are combined at a certain ratio to obtain a mint oil standardized to 50%

menthol (RICOLA0000119-120).

        30.      Another source of mint is the peppermint leaves that are part of the Ricola herb

mixture. Peppermint, together with lemon balm, are the most important components of the



25
  Barlow SC, Andrew , Collins JD, Flynn A, et al. Guidance on Safety assessment of botanicals and botanical
preparations intended for use as ingredients in food supplements. EFSA Journal 2009;7(9):1249.

                                                       -10-
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herbal mix by weight (RICOLA0000025-26). These herbs are prepared in a traditional way as tea

(RICOLA0000009). The use of peppermint in tea form has a long tradition not only for flavor but

also as a remedy in folk medicine. After pressing the liquid (tea) is filtered and added in a tank

together with the other ingredients to make the lozenges (RICOLA0000014-17).

                 D.     The Alleged False Advertising

       31.       In the Complaint in the litigation, Plaintiff claims that the Product was mislabeled

because it allegedly did not include herbal ingredients:

             •   Plaintiff believed and expected the Product functioned as a cough suppressant
                 and oral anesthetic due to the presence of herbal ingredients because that is
                 what the representations and omissions said and implied, on the front label and
                 the absence of any reference or statement elsewhere on the Product.
                 (Complaint ¶50).

             •   Plaintiff seeks to purchase OTC and other products which contain herbal
                 ingredients that contribute to those products’ functionality. (Complaint ¶51).

             •   Plaintiff believed the Product functioned as a cough suppressant and oral
                 anesthetic due to the presence of herbal ingredients. (Complaint ¶68).

             •   Plaintiff relied on the representations and omissions to believe the Product
                 functioned as a cough suppressant and oral anesthetic due to the presence of
                 herbal ingredients. (Complaint ¶71).
       32.       Similarly, Plaintiff alleges that, despite the front label representations including

“Cough Suppressant,” “Oral Anesthetic,” “Effective Relief,” “Made With Swiss Alpine Herbs,”

and pictures of ten herbs, the Product’s therapeutic effect is not provided by any of the herbs

pictured on the front label (see (Complaint ¶17)) or the Product’s herbal ingredients.

(Complaint ¶22).

       33.       Finally, Plaintiff alleges that it is false, deceptive and misleading to claim or imply

that the Product’s inactive ingredients provide a therapeutic benefit. (Complaint ¶23).

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IV.    Opinion

       A.      Herbal Ingredients

       34.     Plaintiff’s allegation that the Product does not contain herbal ingredients is

without any basis in fact. The menthol in the Product, identified as the active ingredient of the

Product, is an herbal product.

       35.     Based on a review of the sourcing documents and processing flow charts of the

menthol crystals (RICOLA0000031-32), the mint oils (RICOLA0000041), and the Ricola herb

mixture (RICOLA0000009, RICOLA0000010-13, RICOLA0000014-17), I conclude that all botanical

ingredients are manufactured or supplied using only physical processing steps such as drying,

cutting, filtering/sieving, heating/cooling, distilling, steeping in water, and similar processes,

and hence are considered natural. There is no indication whatsoever that any of the botanical

ingredients in the Product are made from a reaction of petroleum-based chemicals or other

component that is considered synthetic.

       B.      Therapeutic Effect from Peppermint Oil

       36.     The allegation that the therapeutic effect is not provided by peppermint (one the

herbs shown in the Ricola herb mixture) is incorrect because the menthol, the active ingredient

in the Product clearly indicated in the drug facts panel on the package, is at least in part

obtained from peppermint oil.

       37.     The detailed composition of Ricola cough drops is provided in a response to a

submission (submission number 124247) to the Canadian Natural Health Products Directorate

(now Natural and Non-prescription Health Products Directorate, NNHPD) on March 9, 2011

(RICOLA0000123-127). In this document, menthol and peppermint oil are both listed as



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therapeutic ingredients. The menthol in the lozenge is identified as provided by both menthol

crystals, obtained from natural corn mint, and from natural mint oils, including peppermint oil

(RICOLA0000123-127).

           38.      Peppermint is one of the one of the herbs in the Ricola herb mixture depicted on

the Ricola package. The claim that none of the therapeutic benefits are provided by the herbs

identified as part of the Ricola herb mixture is false.

           C.       Inactive Ingredients

           39.      The law in the United States allows only a restricted number of ingredients to be

listed as “active ingredients” in oral antitussive products according to CFR 341.14 26 and CFR

341.74. 27 The only natural ingredient that can be listed as an active ingredient in lozenges in the

United States is menthol.

           40.      In listing menthol as the active ingredient and the Ricola herb mixture and

sucrose, glucose syrup, and caramel as inactive ingredients, Ricola simply complied with federal

labeling requirements for OTC actives.

           41.      Listing an ingredient as an “inactive ingredient” by no means is evidence for

these ingredients having no therapeutic benefits. There are numerous examples to show that

adjuvant ingredients or excipients are crucial for a formulation to work in the alleviation of

disease symptoms or in the treatment of a disease. Examples include enteric-coated tablets

prevent the active ingredient to be degraded by the acidic environment in the stomach,

allowing it to reach the intestine where it can be absorbed, and polymers added to oral care



26
     Antitussive active ingredients. 21CFR341.14
27
     Labeling of antitussive drug products. 21CFR341.74

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formulation that can attach to the tooth surface can bind active ingredients and increase their

concentration and extend the duration of activity. Without these polymers, the “active

ingredients” would not have the same beneficial effect.

         42.      There are also examples of beneficial “inactive ingredients” directly relevant to

the oral antitussive category. Ingredients with demulcent properties have been recognized as

able to soothe irritated sore throats and possibly block sensory cough receptors within the

respiratory tract. Murgia et al28 note that “demulcent syrups have an important quantity of

sugars. Honey exerts its actions by increasing saliva production and swallowing and (thanks to

its viscosity) by coating the peripheral sensory receptors that send irritative stimuli to the

cortical neural network and thus interfering with the urge to cough.”

         43.      The usefulness of demulcents in mouth and throat products is described in an

expert panel consensus recommendation for primary care clinicians. 29 According to this

document, “Demulcents, lozenges, gargles, and sprays provide temporary relief of a sore throat

and the irritation of post-nasal drip that are common with a cold.” This is also supported by a

publication reviewing the efficacy of certain OTC throat lozenges: “When evaluating the

suitability of sore throat remedies, the simple demulcent benefits should not be overlooked

because demulcents, such as glycerin, honey and sugar (which form the base of throat

lozenges), act to soothe the throat and reduce the irritation. In addition, the increased



28
  Murgia V, Manti S, Licari A, De Filippo M, Ciprandi G, Marseglia GL. Upper respiratory tract infection-associated
acute cough and the urge to cough: New insights for clinical practice. Pediatric allergy, immunology, and
pulmonology. 2020;33(1):3-11.
29
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production of saliva induced by the sucking action required with lozenges […] provides

lubrication to the throat to soothe inflammation. Saliva production may also flush the offending

microbes from the throat surface.” 30

        44.      The Product contains extracts from well-known demulcent herbs, such as mallow

leaves and linden flowers, in addition to sucralose and glucose syrup.

V.      Conclusions

        45.      Based on the available documents and published literature, I conclude that

menthol, the active ingredient identified in the drug facts panel of the Product is herbal and

natural and sourced from crystals obtained from corn mint as well as essential oils from corn

mint and peppermint.

        46.      Additional ingredients, such as the herbs of the Ricola herb mixture featured on

the front panel of the package, must be listed as “inactive ingredients” based on current law

despite the fact that these ingredients may support the efficacy of the pharmacologically active

ingredient.




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                      EXHIBIT 1
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                                        Burlington, VT 05048
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                                             SUMMARY

Noted PhD Pharmacist with expertise in natural products chemistry and in-depth knowledge of
analytical and bioassay techniques to evaluate bio-based material. Proven record in the development
and validation of chromatographic methods for quality control of herbal and OTC ingredients. Proficient
in the development of new bioassays to evaluate activity and mode of action of ingredients.
Experienced facilitator and effective communicator promoting scientific experimentation, encouraging
contributions and motivating teams.


                                            EDUCATION

•   Post-doctoral fellow, Cancer chemoprevention using natural products under the direction of Prof.
    John M. Pezzuto, College of Pharmacy, UIC, Chicago, USA
•   PhD, Pharmaceutical Sciences (in particular: phytochemistry) under the direction of Prof. Kurt
    Hostettmann, University of Lausanne, School of Pharmacy, Institute of Pharmacognosy and
    Phytochemistry, Lausanne, Switzerland
•   BPharm, University of Berne, School of Pharmacy, Berne, Switzerland

                            ACADEMIC / PROFESSIONAL EXPERIENCE

AMERICAN BOTANICAL COUNCIL, Austin, TX                                                 2013 – Present
Chief Science Officer, Supports educational efforts by writing timely summaries and review articles on
topics relevant to the medicinal plant community, in particular in regard to quality control and
adulteration of botanical ingredients. Provides answers to questions from member companies about
quality, identity, efficacy and claims of herbal products.

TOM'S OF MAINE, Kennebunk, ME                                                             1999 – 2013
Director, Analytical Chemistry / Research Scientist, Research and Product Development
Managed the implementation of new analytical technologies (instrumentation and methods) for R&PD.
Trained and supervised QC analysts, purchased and qualified all new equipment, and supported the
research group by developing bioassay methods to identify new ingredients.

COLLEGE OF PHARMACY, UNIVERSITY OF ILLINOIS AT CHICAGO, Chicago, IL
Postdoctoral Research Associate, Department of Medicinal Chemistry and Pharmacognosy

SCHOOL OF PHARMACY, Lausanne, Switzerland
Teaching / Research Assistant, Institute of Pharmacognosy and Phytochemistry

LAI-APOTHEKE, Lenzerheide, Switzerland
Pharmacist
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STEFAN GAFNER, PHD                                                                            PAGE TWO


                                       RESEARCH EXPERIENCE

•   Tom’s of Maine: Developed and validated methods for quality control of many herbal extracts as
    well as OTC pharmaceuticals. Supervised and performed stability analysis for TOM’s of Maine
    products. Analytical methods included HPLC-UV (DAD), HPLC-UV / MS, HPLC-ELSD, HPLC-UV /
    NMR, GC-MS, NMR and AA techniques. Isolated and elucidated structures of compounds in
    selected herbs. Evaluated of in-vitro anti-microbial, anti-inflammatory and breath-freshening effects
    of herbal extracts and pure compounds.
•   Post-doctoral studies: Investigated cyclooxygenase inhibitory activity, COX 2 and inducible nitric
    oxide synthase (iNOS) expression in macrophages and studies of the mechanisms of action by
    active compounds, including curcumin, curcumin-derivatives and stilbenes. Extensive work with cell
    cultures and molecular biology (Western blots, Northern blots and RT-PCR).
•   Ph.D.: Phytochemical investigation of plants used in traditional medicine in the Republic of Guinea
    and Zimbabwe. Characterized 40 compounds, including 13 new chemical structures. Obtained in-
    depth knowledge in chromatographical (HPLC, MPLC, CPC, CC, TLC) and spectroscopical
    methods (NMR, MS, IR, UV). Experience in HPLC-UV / MS.

                                       TEACHING EXPERIENCE

•   Conducted formal, accredited CE presentations on medicinal herbs to pharmacists (over 300
    pharmacists to date).
•   Presented formal seminars to the trade and Universities on scientific and legal / regulatory aspects
    of herbal medicine.
•   Wrote monographs on individual herbs, reviewing history, scientific literature for safety and efficacy,
    use and contraindications, and presented to Regulatory Compliance for support of claim for
    supplement product line.
•   Lectured classes on issues of botanical ingredient and food adulteration for food safety inspectors
    and researchers in the Mediterranean area as part of the BRAMA initiative
•   Taught and supervised practical work in phytochemistry for students in Pharmacy, including micro-
    scopical analysis of powdered plants and practical training in phytochemical analysis.
•   Advisees:
    – Ms. Marta Lopez-Neves, PhD thesis.
    – Ms. Megan McCollom, Master’s thesis.

                                   SELECTED ACCOMPLISHMENTS

Writing and Summarizing
• Authored and co-authored 11 Botanical Adulterants Prevention Bulletins, nine Laboratory Guidance
   Documents, and 28 issues of a newsletter on botanical ingredient adulteration as part of the
   Botanical Adulterants Program

Analytical Chemistry
• Developed and validated over 20 methods for herbal extracts utilized in dietary supplement product
   line.
• Designed and validated methods for nasal decongestant and anti-dandruff shampoo, which were
   both marketed under the Tom’s of Maine brand.
• Validated methods for over 20 fluoride based oral care OTC products including one dual drug
   product created to prevent cavities and tooth sensitivity.
• Developed and implemented new screening method evaluating the duration of fragrances in
   underarm products, confirmed by data from expert odor evaluation panels.
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    STEFAN GAFNER, PHD                                                                        PAGE THREE

    RESEARCH EXPERIENCE (Continued)

•   Discovered over 20 new natural products, most recently isoflavonoids with excellent antibacterial
    properties from Chinese licorice.
•   Performed in-depth analysis on the stability of herbal extracts, using glycerin as solvent, and
    provided solutions that led to a much improved shelf-life (e.g. Echinacea in Tom’s of Maine Immune
    Boost liquid, Skullcap in Tom’s of Maine Sleep Aid liquid).
Product Development
• Co-developed unique licorice extract with breath-freshening properties which is currently included in
   one of the best-selling products (Tom’s Wicked Fresh toothpaste). Won $50K innovation fund to
   support the project.
• Developed new deodorant base that clinically showed a reduction in skin irritation by incorporating
   glycerin and propylene glycol at a specific ratio using sodium stearate to give the desired
   consistency.
• Co-developed new line of lip products including SPF 15 formula based on zinc oxide leaving no
   white residue and lip gloss line with improved consistency due to the addition of thickening silica.
• Five patents awarded: (1) for improvements to the stability of herbal extracts (in particular skullcap
   extracts); (2) for low irritation deodorant base; (3) for supercritical licorice extract with antibacterial
   and anti-inflammatory properties; (4) for the use of a supercritical hops extract with antimicrobial
   properties in a deodorant; and (5) for the development of a specific surfactant system used in
   toothpaste formulations
Management and Supervision
• Led Stewardship team, as an group of scientists that evaluated all new raw materials and set
   specific guidelines used to qualify potential new raw materials as natural for use in all products.
• Co-chaired the 48th Annual meeting of the American Society of Pharmacognosy in Portland, ME
   accommodating over 500 attendees from 24 countries. Managed meeting budget ($200K),
   registration, lodging, catering, AV support and special events.
• Managed capital expenditure budget for purchase and maintenance of all R&D instrumentation as
   well as monitoring and meeting regulatory compliance.

                                    PROFESSIONAL AFFILIATIONS

•   Member, American Society of Pharmacognosy (ASP)
•   Member, Society for Medicinal Plant and Natural Products Research (GA)

                                                 HONORS

•   Member, Scientific Program Advisory Committee, 71th International Congress and Annual Meeting
    of the Society for Medicinal Plant and Natural Product Research (GA), 2023, Dublin, Ireland
•   Member, Scientific Program Advisory Committee, 70th International Congress and Annual Meeting
    of the Society for Medicinal Plant and Natural Product Research (GA), 2022, Thessaloniki, Greece
•   Member, Board of Editors, Planta Medica, 2019 – present
•   Member, Advisory Board, Society for Medicinal Plant and Natural Product Research (GA), 2019 -
    present
•   Member, Editorial Board, Journal of Ethnopharmacology, 2018 – present
•   Member, Steering Committee of the Botanical Safety Consortium (BSC), 2018 - 2022
•   Member, Scientific Program Advisory Committee, 10th Joint Natural Products Conference, 2020,
    San Francisco, CA
•   Chair, AOAC SPDS Echinacea working group, 2017
•   Member, Scientific Program Advisory Committee, 9th Joint Natural Products Conference, 2016,
    Copenhagen, Denmark
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STEFAN GAFNER, PHD                                                                    PAGE FOUR

•   Member, USP Botanical Dietary Supplements and Herbal Medicines Expert Committee, 2015 –
    present
•   Member, ASP Scientific Program Advisory Committee, 56th Annual Meeting of the American Society
    of Pharmacognosy, 2015, Copper Mountain, CO
•   Member, External Advisory Committee for the UIC / NIH Botanical Center, 2012 - present
•   Member, AHPA Board of Trustees, 2011 - 2013
•   Chair, ASP Conference Committee, 2007 - 2019
•   Member, ASP Scientific Program Advisory Committee, 50th Annual Meeting of the American Society
    of Pharmacognosy, 2009, Honolulu, HI
•   Member, ASP Nominating Committee, 2007 – 2009
•   Co-Chair, Organizing Committee, 48th American Society of Pharmacognosy Meeting, Portland, ME,
    July 14 – 19, 2007
•   Member, Scientific Program Committee, Oxford International Conference on the Science of
    Botanicals, 2005 – 2007, Oxford, MS
•   Member, AOAC Expert Review Panel on analytical methods for the quality control of Panax
    ginseng, 2005, Las Vegas, NV
•   Chair, AOAC Expert Review Panel on analytical methods for the quality control of Echinacea
    species, 2005, Las Vegas, NV

                                            LANGUAGES

•   German, English, French, Italian and Latin
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                                             ADDENDUM

PATENTS

Patents Granted
• US patent 7771758: Extract of mad-dog skullcap
• US patent 8236360: Supercritical CO2 liquorice extract anti-microbial and anti-inflammatory
   isolates and products made there from
• EP patent 2170257 A2 : Propylene glycol / Glycerin-Based deodorant
• US patent 8460720: Hops-based deodorant

PUBLICATIONS

Book Chapters
1. Gafner, S., Villinski, J.R. (2011) Chromatographic Techniques for the Analysis of Natural Products
   in Cosmetics. In: Formulating Cosmetics with Natural Ingredients; Dayan N., Kromidas L., Eds;
   Wiley, Hoboken, NJ: 331 – 360.
2. Reich E., Schibli, A., Schaneberg, B. and Gafner, S. (2009) Analytics. In: American Herbal
   Pharmacopeia and Therapeutic Compendium: Skullcap Aerial Parts (Scutellaria lateriflora); Upton
   R., Ed; AHP, Scotts Valley, CA: 20 – 23.
3. Gafner, S.      (2009) Therapeutics.    In: American Herbal Pharmacopeia and Therapeutic
   Compendium: Skullcap Aerial Parts (Scutellaria lateriflora); Upton R., Ed; AHP, Scotts Valley, CA:
   24 – 32.
4. Gafner, S. (2009) Safety profile. In: American Herbal Pharmacopeia and Therapeutic
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Papers
1. Patel, D., Sorkin, B.C., Mitchell, C.A., Embry, M.E., Rina-Kong, S., Adams, R.E., DeTemple, R.E.,
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   J., Dentali, S. (2023) Improving the rigor and utility of botanical toxicity studies: Recommended
   resources. Regulatory Toxicology and Pharmacology 144:105471.
2. McAlpine, J.B., Ferreira, D., Pauli, N.E., Gafner, S., Pauli, G.F. (2023) The ethics of publishing
   biomedical and natural products research. Journal of Natural Products 86 (9): 2228-2237.
3. Gafner, S. (2023) (2018) Adulteration of European elder (Sambucus nigra) berries and berry
   extracts. Botanical Adulterants Prevention Bulletin. Austin, TX: ABC-AHP-NCNPR Botanical
   Adulterants Prevention Program. 1-12.
4. Gafner, S., Blumenthal, M., Foster, S., Cardellina, J.H., II, Khan, I.A., Upton, R. (2023) Botanical
   ingredient forensics: detection of attempts to deceive commonly used analytical methods for
   authenticating herbal dietary and food ingredients and supplements. Journal of Natural Products 86
   (2): 460-472.
5. Mitchell, C.A., Dever, J.T., Gafner, S., Griffiths, J.C., Marsman, D.S., Rider, C., Welch, C., Embry,
   M.R. (2023) Das Botanical Safety Consortium: Eine öffentlich-private Partnerschaft zur
   Verbesserung des Toolkits für die Prüfung der Sicherheit von pflanzlichen Arzneistoffen [The
   Botanical Safety Consortium: a public-private partnership to improve the toolkit for the safety
   evaluation of botanicals]. Zeitschrift für Phytotherapie 44 (1): 21-29.
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6. Pearson, A., Gafner, S., Rider, C.V., Embry, M.R., Ferguson, S.S., and Mitchell, C.A. (2022) Plant
    vs kidney: Evaluating nephrotoxicity of botanicals with the latest toxicological tools. Current Opinion
    in Toxicology. 32:100371.
7. Monagas, M.J., Brendler, T., Brinckmann, J., Dentali, S., Gafner, S., Giancaspro, G., Johnson, H.,
    Kababick, J., Ma, C., Oketch-Rabah, H., Pais, P., Sarma, N., and Marles, R. (2022) Understanding
    plant to extract ratios in botanical extracts. Frontiers in Pharmacology. 13:981978.
8. Gafner, S. (2022) Ginkgo leaf extract adulteration laboratory guidance document. Austin, TX: ABC-
    AHP-NCNPR Botanical Adulterants Prevention Program. 1 – 20.
9. Avula, B., Katragunta, K., Wang, Y., Ali, Z., Srivedavyasasri, R., Gafner, S., Slimestad, R., and
    Khan, I.A. (2022) Chemical profiling and UHPLC-QToF analysis for the simultaneous
    determination of anthocyanins and flavonoids in Sambucus berries and authentication and detection
    of adulteration in elderberry dietary supplements using UHPLC-PDA-MS. Journal of Food
    Composition and Analysis 110:104584.
10. Mitchell, C.A., Dever, J.T., Gafner, S., Griffiths, J.C., Marsman, D.S. Rider, C.V., Welch, C., and
    Embry, M.R. (2022) The Botanical Safety Consortium: A public-private partnership to enhance the
    botanical safety toolkit. Regulatory Toxicology and Pharmacology 128:105090.
11. Girme, A., Mirgal, A., Darji, B., Gafner, S., and Hingorani L. (2022) Adulteration of saffron and
    saffron extracts. Botanical Adulterants Prevention Bulletin. Austin, TX: ABC-AHP-NCNPR Botanical
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    and clinical practice. Phytotherapy Research 35 (6):3013 – 3031.
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    G.F., and McAlpine, J. (2021) The untargeted capability of NMR helps recognizing adulteration in
    natural products. Journal of Natural Products 84 (3): 846 – 856.
14. Gafner, S., Borchardt, T., Bush, M., Sudberg, S., Feuillère, N.G., Tenon, M.Y.R., Jolibois, J.H.,
    Bellenger, P.J.N., You, H., Adams, R.E., Stewart, J., Dagan, I., Murray, T., Erickson, D.E., and
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    ABC-AHP-NCNPR Botanical Adulterants Prevention Program. 1 – 20.
16. Gafner, S., Blumenthal, M., Foster, S., Cardellina II, J.H., Khan, I.A., and Upton, R. (2020) Botanical
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17. Geng, P., Sun, J., Brand, E., Frame, J., Meissner, H., Stewart, J., Clark, S., Miller, J., Harnly, J.M.,
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    peruvianum) using a mass spectral fingerprinting, metabolomic analysis, and genetic sequencing
    approach. Planta Medica 86 (10): 453 – 468.
18. Mailer, R.J., and Gafner, S. (2020) Adulteration of olive (Olea europaea) oil. Botanical Adulterants
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19. Upton, R., David, B., Gafner, S., and Glasl, S. (2019) Botanical ingredient identification and quality
    assessment: strengths and limitations of analytical techniques. Phytochemistry Reviews.
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21. Roe A.L., Dever, J.T., Gafner, S., Marsman, D.S., Rider, C.V., and Swift, S. (2019) The Botanical
    Safety Consortium. Applied in Vitro Toxicology 5(1):4-9.
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23. Gafner, S., and Cardellina II, J.H. (2018) Cranberry products laboratory guidance document.
    Austin, TX: ABC-AHP-NCNPR Botanical Adulterants Prevention Program. 1 – 13.
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    AHP-NCNPR Botanical Adulterants Prevention Program. 1-13.
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    extract. HerbalGram 110: 31 – 35.
31. Gafner, S. (2016) Ginkgo extract adulteration in the global market: a brief review. HerbalGram 109:
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33. Gafner, S. (2016) Adulteration of black cohosh. Botanical Adulterants Prevention Bulletin. Austin,
    TX: ABC-AHP-NCNPR Botanical Adulterants Prevention Program. 1 – 5.
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    biloba supplements adulteration using high performance thin layer chromatography and ultra high
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52. Gafner, S., Sudberg, S., Sudberg, É.M., Villinski, J.R., Gauthier, R. and Bergeron, C. (2006)
    Chromatographic fingerprinting as a means of quality control: Distinction between Actaea
    racemosa and 4 different Actaea species. Acta Horticulturae 720: 83 – 94.
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55. Gafner, S. and Bergeron, C. (2005) The challenges of chemical stability testing of herbal extracts
    in finished products using state-of-the-art analytical methodologies. Current Pharmaceutical
    Analysis 1 (2): 203 – 215.
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    standard for quantifying macamides in Maca. Horticultural Science 39 (4): 779.
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    canadense and Teucrium chamaedrys by LC-UV / MS, TLC and Digital Photo-Microscopy, Journal
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61. Gafner, S., Bergeron, C., Batcha, L.L., Reich, J., Arnason, J.T., Burdette, J.E., Pezzuto, J.M. and
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    Scutellaria lateriflora L. Journal of Natural Products 66 (4): 535 – 537.
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    Medicine and International Health 1: 30 – 31.
71. Gafner, S., Wolfender, J.L., Mavi, S. and Hostettmann, K. (1996) Antifungal and antibacterial
    chalcones from Myrica serrata. Planta Medica 62: 67 – 69.
72. Gafner, S., Wolfender, J.L., Nianga, M., Stöckli-Evans, H. and Hostettmann, K. (1996) Antifungal
    and antibacterial naphthoquinones from Newbouldia laevis Roots. Phytochemistry 42: 1315 –
    1320.


Oral Communications
1. Gafner, S. Botanical ingredient identity and its importance for a safety assessment. July 2023.
   71st International Congress and Annual Meeting of the Society for Medicinal Plant and Natural
   Product Research (GA), Dublin, Ireland.
2. Gafner, S., Orhan N., Blumenthal, M., Cardellina, J.H., Avula, B., Khan, I.A., Hänni, M., Reich, E.,
   and Upton, R. The impact of COVID-19 on the supply chain and quality of botanical ingredients.
   April 2023. 21st Annual Oxford International Conference on the Science of Botanicals, University,
   USA.
3. Satyal, P., Sorensen, A., Bascoul, C., Embry, M.R., and Gafner, S. Lavender and endocrine
   disruption – Are we barking up the wrong bush? August 2022. 70th International Congress and
   Annual Meeting of the Society for Medicinal Plant and Natural Product Research (GA),
   Thessaloniki, Greece.
4. Gafner, S., Blumenthal, M., Cardellina, J.H., Avula, B., Khan, I.A., Hänni, M., Reich, E., and Upton,
   R. June 2022. The impact of Covid-19 on the supply chain and quality of botanical ingredients –
   A case study with elderberry. Annual Conference of the Societa Italiana di Fitochimica, Bari, Italy.
5. Satyal, P., Sorensen, A., Bascoul, C., Embry, M.R., and Gafner, S. Lavender and endocrine
   disruption – Barking up the wrong bush? March 2022. 20th Annual Oxford International Conference
   on the Science of Botanicals, University, USA.
6. Oketch-Rabah, H., and Gafner, S. HESI Botanical Safety Consortium and Kamuzu University of
   Health Sciences initiatives. March 2022. 20th Annual Oxford International Conference on the
   Science of Botanicals, University, USA.
7. Mitchell, C.A., Gafner, S., Griffiths, J.C., Marsman, D.S. Rider, C.V., Welch, C., and Embry, M.R.
   (2021) The Botanical Safety Consortium: A public-private partnership to enhance the botanical
   safety toolkit. 69th Annual Meeting of the Society of Medicinal Plant Research (GA), Virtual Meeting.
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8. Gafner, S. May 2020. Botanical ingredient characterization – a tale of more than one thousand and
    one compounds. 1st Annual Meeting of the Botanical Safety Consortium (BSC) [online].
9. Gafner, S., Blumenthal, M., Foster, S., Cardellina II, J.H., Khan, I.A., and Upton, R. November
    2019. Botanical ingredient adulteration – a review of data published over the past five years. 6th
    World Congress on Medicinal and Aromatic Plants (WOCMAP), Famagusta, North Cyprus.
10. Blumenthal, M., Gafner, S., Foster, S., Cardellina II, J.H., Khan, I.A., and Upton, R. September
    2019. Preventing adulteration and fraud in botanical ingredients in the international marketplace: the
    ABC-AHP-NCNPR Botanical Adulterants Prevention Program. 67th Annual Meeting of the Society of
    Medicinal Plant Research (GA), Innsbruck, Austria.
11. Gafner, S., Blumenthal, M., Foster, S., Cardellina II, J.H., Khan, I.A., and Upton, R. September
    2019. How some suppliers attempt to fool commonly used analytical methods. 67th Annual Meeting
    of the Society of Medicinal Plant Research (GA), Innsbruck, Austria.
12. Gafner, S., Blumenthal, M., Foster, S., Cardellina II, J.H., Khan, I.A., and Upton, R. August 2019.
    How some suppliers attempt to fool commonly used analytical methods. Invited speaker. Linus
    Pauling Institute (LPI) International Conference, Corvallis, OR.
13. Gafner, S., Blumenthal, M., Foster. S., Cardellina II, J. H., Khan, I. A., and Upton, R. August 2018.
    Botanical ingredient adulteration – how some suppliers attempt to fool commonly used analytical
    techniques. Invited speaker. XXX International Horticultural Congress, Istanbul, Turkey.
14. Gafner, S., Blumenthal, M., Foster. S., Cardellina II, J. H., Khan, I. A., and Upton, R. June 2018.
    Botanical ingredient adulteration – how commonly used analytical techniques are fooled. Invited
    speaker. 9th Annual Meeting of the Speciality Committee of TCM Pharmaceutical Analysis,
    Nanchang, China.
15. Gafner, S., Parveen, I., Techen, N., Khan, I. A., Gafner, F., Rey, C., Frommenwiler, D., Reich. E.
    May 2018. Challenges in determining species identity of medicinal plants: The case of Euphrasia.
    15th Annual NHP Research Conference 2018, Guelph, Canada.
16. Gafner, S., Upton, R., Khan, I. A., Cardellina II, J. H., Foster. S., and Blumenthal, M. February
    2018. Botanical ingredient adulteration – how commonly used analytical techniques can be fooled.
    USP Invited speaker. Adulteration and Fraud in Food Ingredients and Dietary Supplements
    Workshop. Rockville, USA.
17. Gafner, S. September 2017 Evidenz-basierte Phytotherapie im Spannungfeld zwischen Tradition
    und Innovation. AGFAM continuous education class for pharmacists, Zürich and Bern, Switzerland.
18. Gafner, S., Upton, R., Khan, I. A., Cardellina II, J. H., Foster. S., and Blumenthal, M. September
    2017. Botanical ingredient adulteration – how commonly used analytical techniques can be fooled.
    65th Annual Meeting of the Society of Medicinal Plant Research (GA), Basel Switzerland.
19. Gafner, S. April 2017. Botanical ingredient adulteration – how commonly used analytical
    techniques can be fooled. 16th Annual Oxford International Conference on the Science of
    Botanicals, University, USA.
20. Gafner, S. December 2016. Controlling adulterated botanical ingredients: a framework for success.
    Invited speaker. Dietary Supplement Regulation - Labeling and Claims Conference. Alexandria,
    USA.
21. Gafner, S. August 2016. The amazing array of secondary metabolites in plants – an introduction
    with focus on materials used for medicinal purposes. Invited speaker. New England Association of
    Chemistry Teachers 77th summer conference. North Adams, USA.
22. Gafner, S., Blumenthal, M., Foster. S., Cardellina II, J. H., Khan, I. A., and Upton, R. April 2016.
    Botanical ingredient adulteration : Efforts by the ABC-AHP-NCNPR Botanical Adulterants Program
    to raise awareness of current issues and provide solutions to the problem. Invited speaker. 15th
    Annual Oxford International Conference on the Science of Botanicals, University, USA.
23. Gafner, S., Blumenthal, M. December 2015. The ABC-AHP-NCNPR Botanical Adulterants
    Program : Tools and resources. Invited speaker, USP Workshop on Adulteration and Fraud in Food
    Ingredients and Dietary Supplements, Rockville, USA.
24. Gafner, S., Blumenthal, M. June 2015. The ABC-AHP-NCNPR Botanical Adulterants Program: An
    Educational Effort to Curb Adulteration of Botanical Ingredients in Dietary Supplements. Invited
    speaker, Phyt’arom Conference, Grasse, France.
25. Gafner, S., Blumenthal, M. September 2014. An overview of analytical technologies to detect
    adulteration of botanical ingredients in dietary supplements. Invited speaker, Clinical &
    Pharmaceutical Solutions through Analysis (CPSA) Conference, Langhorne, PA.
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26. Gafner, S. October 2014. Adulteration of botanical ingredients and analytical technologies to
    determine the authenticity of herbal medicines. Invited speaker, World Acupuncture and Intergrative
    Medicine Conference, Houston, USA.
27. Gafner, S. June 2013. Glycyrrhiza uralensis: unusual chemistry and unusual applications. Invited
    speaker, 4th Annual Meeting of the American Society of Medicinally Active Plants, Amherst, USA.
28. Markus, M.A., Colson, K.L., Jiao, P. and Gafner, S. April 2012. Quantitative analysis of Aloe Vera
    by NMR, automated using the Assure - raw material screening software. 11th Annual Oxford
    International Conference on the Science of Botanicals, University, MS, USA.
29. Gafner, S. March 2012. Glycyrrhiza uralensis: unusual chemistry and unusual applications. Invited
    speaker, public seminars, UMass / Dartmouth.
30. Gafner, S., Bergeron, C., Villinski, J.R., Godejohann, M., Kessler, P., Cardellina II, J.H., Ferreira,
    D., Desjardins, J., Feghali, K. and Grenier, D. December 2011. Glycyrrhiza uralensis: unusual
    chemistry and unusual applications. Invited speaker, 50th Annual Meeting of the Phytochemical
    Society of North America, Kona, USA.
31. Gafner, S., Bergeron, C., Villinski, J.R., Godejohann, M., Kessler, P., Cardellina II, J.H., Ferreira,
    D., Desjardins, J., Feghali, K. and Grenier, D. August 2011. Glycyrrhiza uralensis: unusual
    chemistry and unusual applications. Invited speaker, 52th Annual Meeting of the American Society
    of Pharmacognosy, San Diego, USA.
32. Colson, K.L., Hicks, J.M., Killday, K.B., Glinski, J.A., Gafner, S., McIntyre, K., Ferrier, J., Arnason,
    J.T., Cuerrier, A. and Okunji, C. July 2010. Validation of an NMR method for quality control and
    identification of botanical extracts. 51st Annual Meeting of the American Society of Pharmacognosy,
    St. Petersburg, USA.
33. Colson, K.L., Hicks, J.M., Glinski J.A., Gafner, S., McIntyre, K., Ferrier, J., Arnason, J.T., Cuerrier,
    A., Killday K.B. and Tempesta, M.S. April 2010. NMR based screening tool for quality control of
    botanical dietary supplements. 9th Annual Oxford International Conference on the Science of
    Botanicals, University, MS, USA.
34. Gafner, S., Schneider, C., La, V.D., Grenier, D. and Bergeron, C. June 2009. Prenylated
    isoflavans as inhibitors of matrix metalloproteinase expression. 50th Annual Meeting of the
    American Society of Pharmacognosy, Honolulu, USA.
35. Colson, K.L., Hicks, J.M., Glinski, J.A., Gafner, S., McIntyre, K., Ferrier, J., Arnason, J.T., Cuerrier,
    A., Killday, K.B. and Tempesta, M.S. June 2009. Towards the development of a NMR based
    screening tool for quality control and source identification for natural product extracts. 50th Annual
    Meeting of the American Society of Pharmacognosy, Honolulu, USA.
36. Gafner, S., Dumas, E.R., Michaud, A.E., Bodet, C., La, V.D., Grenier, D. and Bergeron, C. August
    2008. A supercritical licorice (Glycyrrhiza uralensis) extract inhibits growth of oral pathogens and
    reduces LPS-induced cytokine secretion by macrophages and whole blood. 7th joint meeting of
    AFERP, ASP, GA, PSE and SIF, Athens, Greece.
37. Gafner, S., Bergeron, C., Dumas, E.R., Villinski, J.R., Hicks, J.M., Colson K.L. and Maas, W.
    March 2008. Analytical approaches for determining the fate of natural ingredients in personal care
    products: the case of hops. Invited speaker, fifth Natural Health Product Conference, Toronto,
    Canada.
38. Gafner, S. August 2006. Bucking the system: Non-Academic Careers for Natural Products
    Scientists: The Dietary Supplement and Personal Care Industry. Workshop, 47th Annual Meeting
    of the American Society of Pharmacognosy, Arlington, USA.
39. Gafner, S., Sudberg, S., Sudberg, É.M., Gauthier, R. and Bergeron, C.                    August 2005.
    Chromatographic fingerprinting as a means of quality control: Distinction between Actaea
    racemosa and 4 different Actaea species. International Conference on Quality and Safety Issues
    Related to Botanicals, University, MS, USA.
40. Gafner, S. March 2005. Adulteration of skullcap (Scutellaria laterifloraL.): from digital photo-
    microscopy to HPLC-NMR. Invited speaker, public seminars, UMass / Amherst.
41. Gafner, S. March 2004. Adulteration of skullcap (Scutellaria laterifloraL.): from digital photo-
    microscopy to HPLC-NMR. Invited speaker, public seminars, UNH / Dover.
42. Gafner, S., Bergeron, C., Sudberg, S., Sudberg, É.M., Kelly, L., George, M., Gauthier, R.,
    Guinaudeau, H. and Angerhofer, C.K. February 2004. Adulteration of skullcap (Scutellaria
    laterifloraL.): from digital photo-microscopy to HPLC-NMR. First Natural Health Product
    Conference, Montreal, Canada.
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43. Bergeron, C., Angerhofer, C and Gafner, S. November 2001. New targets for quality control:
    quantitative analysis of highly polar compounds in Echinacea purpurea and Hypericum perforatum.
    American Society of Pharmacognosy and Counsil for Responsible Nutrition 2001 Interim Meeting,
    Asilomar, USA.

Posters

44. Gafner, S., Blumenthal, M., Foster, S., Cardellina II, J.H., Khan, I.A., Upton, R. July 2015. The
    ABC-AHP-NCNPR Botancial Adulterants Program’s laboratory guidance on analytical methods to
    detect adulterants in botanical materials. 56th Annual Meeting of the American Society of
    Pharmacognosy, Copper Mountain, USA.
45. Colson, K.L., Markus, M.A., Fischer, C., Wolff, M. and Gafner, S. Aloe vera: Quantification of key
    metabolites for identity and quality assessment. International Congress on Natural Products
    Research, New York City, USA.
46. Villinski, J.R., Bergeron, C., Dobrovolny, M., Stewart, B., Williams, M., Schneider, C., Tanabe, S.I.
    Desjardins, J., Grenier, D. and Gafner, S. August 2012. Glycyrrhiza uralensis containing
    toothpaste: Characterization of the extract and reduction of oral malodor in a clinical study.
    International Congress on Natural Products Research, New York City, USA.
47. Markus, M.A., Colson, K.L., Jiao, P. and Gafner, S. June 2012. Analyzing Aloe vera by NMR in
    automation with the Assure-RMS software package: quantitative measurements of metabolites and
    potential for classification. 8th Annual International Meeting of the Metabolomics Society,
    Washington, DC, USA.
48. Colson, K.L., Fischer, C., Gafner, S., Hicks, J.M. and Luchsinger, S. August 2011. Quality control
    analysis of skcullcap using 1H NMR. 52th Annual Meeting of the American Society of
    Pharmacognosy, San Diego, USA.
49. Hicks, J.M., Colson, K.L., Glinski, J.A., Gafner, S., Arnason, J.T. and Cuerrier, A. September 2010.
    Screening of Quality and ‘Fingerprinting’ Identification Using Nuclear Magnetic Resonance (NMR).
    124th AOAC Annual Meeting and Exposition, Orlando, USA.
50. Colson, K.L., Hicks, J.M., Killday, K.B., Gafner, S., McIntyre, K., Ferrier, J., Arnason, J.T., Cuerrier,
    A. and Okunji, C. September 2010. Validation of an NMR Method for Quality Control and
    Identification of Botanical Extracts. 124th AOAC Annual Meeting and Exposition, Orlando, USA.
51. Hicks, J.M., Colson, K.L., Glinski, J.A., Gafner, S. and Arnason, J.T. July 2010. Nuclear magnetic
    resonance-based screening tool for quality control of botanical dietary supplements. IFT Annual
    Meeting and Food Expo, Chicago, USA.
52. Hicks, J.M., Glinski, J.A., Gafner, S., McIntyre, K., Ferrier, J., Arnason, J.T., Cuerrier, A. and
    Colson, K.L. September 2009. Dietary supplements: towards the development of a quality and
    “fingerprinting” identification tool using NMR. 123th AOAC Annual Meeting and Exposition,
    Philadelphia, USA.
53. Villinski, J. and Gafner, S. June 2009. Comparison of solid-phase microextraction with headspace
    analysis for screening of volatile components in natural preservatives. 50th Annual Meeting of the
    American Society of Pharmacognosy, Honolulu, USA.
54. Colson, K.L., Ferrier, J., Arnason, J.T., Cuerrier, A., Hicks, J.M., Tempesta, M.S., Killday, K.B. and
    Gafner, S. June 2009. Blueberry extract: towards the development of a quality and “fingerprinting”
    identification tool using NMR. 50th Annual Meeting of the American Society of Pharmacognosy,
    Honolulu, USA.
55. Bergeron, C., Bodet, C., Gafner, S., Michaud, A.E., Dumas, E.R. and Grenier, D. July 2008.
    Effects of licorice on Porphyromonas gingivalis growth and biofilm viability. 86th General Meeting of
    the IADR, Toronto, Canada.
56. Gafner, S., Dumas, E.R., Bodet, C., Grenier, D., Gregory, R.L. and Bergeron, C. August 2006.
    Inhibition of dental biofilm formation by high-molecular-weight fractions from cranberry (Vaccinium
    macrocarpon). 47th Annual Meeting of the American Society of Pharmacognosy, Arlington, USA.
57. Bergeron, C., McCollom, M., Scott, I., Glinski, J.A., Arnason, J.T., Foster, B. and Gafner, S. August
    2004. In-vitro anxiolytic activity of California poppy (Eschscholtzia californica Cham.). International
    Congress on Natural Products Research, Phoenix, USA.
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58. Gafner, S., White, A.B., Melzig, M.M., Cuendet, M., Pezzuto, J.M. and Bergeron, C. August 2004.
    Evaluation of the anti-inflammatory properties of skullcap (Scutellaria lateriflora L.) extracts in
    different in-vitro models. International Congress on Natural Products Research, Phoenix, USA.
59. Bergeron, C. and Gafner, S. July 2003. Polysaccharide and glycoprotein quantification in
    Echinacea sp. by HPLC-ELSD. 44th Annual Meeting of the American Society of Pharmacognosy,
    Chapel Hill, USA.
60. Gafner, S., Bergeron, C., Sudberg, S., Sudberg, É.M., Kelly, L., George, M., Gauthier, R.,
    Guinaudeau, H. and Angerhofer, C.K. July 2003. Adulteration of mad-dog skullcap (Scutellaria
    lateriflora L.): an example of the importance of classical pharmacognosy. 44th Annual Meeting of
    the American Society of Pharmacognosy, Chapel Hill, USA.
61. Russell, F.E., Gafner, S., Cooper, L.M. and Bergeron, C. July 2003. Stability of the flavonoids
    present in Scutellaria lateriflora L. glycerin extracts treated with heat, citric acid and ascorbic acid.
    44th Annual Meeting of the American Society of Pharmacognosy, Chapel Hill, USA.
62. McCollom, M., Gafner, S. and Craker, L.E. July 2003. Synthesis of n-benzyl-hexadecanamide as a
    standard compound for quantifying macamides in Maca (Lepidium meyenii). 44th Annual Meeting of
    the American Society of Pharmacognosy, Chapel Hill, USA.
63. Gafner, S., Bergeron, C., Burdette, J.E., Pezzuto, J.M. and Angerhofer, C.K. September 2002.
    Inhibition of [3H]-LSD binding to 5-HT7 receptors by flavonoids from Scutellaria lateriflora L. 50th
    Annual Meeting of the Society of Medicinal Plant Research (GA), Barcelona, Spain.
64. Bergeron, C., Gafner, S. and Angerhofer, C.K. July 2002. Is water activity a good indicator of
    degradation in Echinacea purpurea L. root glycerites? 50th Annual Meeting of the Society of
    Medicinal Plant Research (GA), Barcelona, Spain.
65. Gafner, S., Bergeron, C., Keil, J., Batcha, L.L. and Angerhofer, C.K. July 2002. Comparison of
    extraction efficiency of 50% ethanol versus 65% glycerin: HPLC analysis of Echinacea purpurea
    (L.) MOENCH, Ginkgo biloba L., Hypericum perforatum L., Panax quinquefolius L. and Valeriana
    officinalis. 43rd Annual Meeting of the American Society of Pharmacognosy, New Brunswick, USA.
66. Russell, F.E., Gafner, S., Bergeron, C., Villinski, J.R., Keil, J, and Angerhofer, C.K. July 2002.
    Comparison of extraction efficiency of fresh and dried plant material with ethanol versus glycerin:
    HPLC and GC / MS analysis of Matricaria recutita (L.), and Calendula officinalis (L.). 43rd Annual
    Meeting of the American Society of Pharmacognosy, New Brunswick, USA.
67. Bergeron, C., Russell, F.E., Dumas, E.R., Gafner, S. and Angerhofer, C.K. July 2002. Echinacea
    purpurea glycerite: Key elements of the extraction process. 43rd Annual Meeting of the American
    Society of Pharmacognosy, New Brunswick, USA.
68. Villinski, J.R., Dumas, E.R., Pezzuto, J.M., Angerhofer, C.K. and Gafner, S. November 2001.
    Comparison of antimicrobial activity and alkaloid content of Berberis thunbergii, Berberis vulgaris
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